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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      Misc No.1: 21-mc-00194-KPF
BREAKING MEDIA INC.
dba ABOVE THE LAW,                                    Associated Case: 1:18-cv-00444
                                                      (W.D.TX)
                                    Petitioner,

                   -against-                          AFFIDAVIT OF ROBERT TAULER
                                                      IN SUPPORT OF MOTION FOR
EVAN P. JOWERS,                                       ADMISSION PRO HAC VICE

                                  Respondent.
Re: Subpoena Issued in,
MWK Recruting, Inc. v.
Evan P. Jowers, et al
U.S. District Court
Western District of Texas

       I, Robert Tauler, hereby swear as follows:

       1.      I am a member in good standing of the bar of the state of Texas.

       2.      I have never been convicted of a felony.

       3.      I have never been censured, suspended, disbarred, or denied admission or

readmission by any court.

       4.      There are no disciplinary proceedings presently against me.

       I declare under penalty of perjury under the laws of the United States and the laws

of the State of New York that the foregoing is true and correct. Executed this 11th day of

March, 2021, at Los Angeles, California.



                                             ____________________________________
                                             Robert Tauler, Esq.




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